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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.         CASE NO. 8:12-CR-205-T-17MAP

 NATHANIEL HARRIS, et al.

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                                         ORDER


       This cause is before the Court on:

       Dkt. 891      Memorandum in Opposition (Charlie L. Green)
       Dkt. 892      Motion for Instruction (Charlie L. Green)
       Dkt. 893      Motion for Protective Order (Government)
       Dkt. 896      Report and Recommendation

       The assigned Magistrate Judge has conducted hearings on June 13, 2016 and
 June 14, 2016 as to the Motion for Protective Order, and has entered a Report and
 Recommendation as to disposition of the Motion for Protective Order, which includes
 the following recommendations:


       1. The Defendants’ lockdown (which has been in place since this issue
       came to light) be lifted be lifted to the extent outlined in this Report.

       2. The Court admonish counsel that the Protective Order remains in full
       force and effect. To ensure compliance with the Protective Order,
       defense counsel and the government should be directed to promptly
       identify those protected reports of investigation (and their digital
       identifiers) that are the subject of Protective Order and particularly the
       seven-day disclosure subset.

       3. The Court should admonish the Defendants that they are strictly
       prohibited from exchanging any written materials with each other in the
       courtroom and the Court should direct the Marshal to monitor such
       behavior.
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       4. Defense counsel should be directed to clearly mark and identify any
       hard copy of a protected document, should segregate that document in a
       clearly identifiable folder or binder, and must keep that folder or binder
       from a Defendant until the Protective Order allows its disclosure.

       5. Because access to the digital media does not allow such an easy fix,
       defense counsel should be admonished to abide by the Protective Order
       and to screen digital documents before disclosure to a Defendant to
       ensure that the document so disclosed is not covered by the Protective
       Order.

       6. No Defendant should have any contact (either direct or indirect) with an
       alleged victim of a crime or with a potential witness who may testify
       concerning the case. Any contact with a witness or victim is to be made
       through defense counsel or a member of the Defendant’s legal team. The
       Defendants are specifically advised that intimidating witnesses, jurors,
       and officers of the court, or obstructing justice, or tampering with a
       witness, victim, or informant, or retaliating against a witness, victim, or
       informant are all violations of federal law subject to fine and imprisonment
       or both.

       7. Each Defendant is to provide the United States Marshal within five days
       a list of five individuals he wishes to call from the jail or see at the jail
       (excluding defense counsel and members of the defense team). Each list
       is to be screened by the government. If the government objects to a
       particular individual, it should submit its reasons to the Court as
       appropriate; otherwise, that list should be forwarded to the jail authority for
       compliance through the Marshals Service. Until a Defendant’s contact is
       authorized, that Defendant is prohibited from calling or seeing that
       contact. If the government contends that these restrictive conditions (or
       any other restrictive conditions) will not ensure the Defendant’s
       compliance, the government may renew its motion for holding that
       Defendant in administrative segregation (or lockdown) for the duration of
       the trial or for such limited time as to satisfy the legitimate need the
       government puts forth. In making such a motion, the government is to
       proffer the testimony of the relevant jail authority or deputy United States
       Marshal with information regarding the futility of restrictions.

       8. A Defendant’s jail calls to an approved individual or his jail visit with an
       approved individual is to occur in accordance with the rules and policies of
       the jail.



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         9. Any Order the Court issues should not be viewed by jail authorities as
         limiting their authority to impose suitable restrictions on any Defendant for
         either a violation of custodial rules and policies or for a legitimate custodial
         reason.



         The Report and Recommendation provides for a shortened period of time of two
 days to file written objections to the proposed findings and recommendations. Due to
 the exigency of the situation, the Court will rule on the Report and Recommendation
 immediately, and any challenge to the Report and Recommendation can be raised by
 seeking relief as to the Order on the Report and Recommendation.


         After consideration, the Court adopts and incorporates the Report and
 Recommendation by reference. Accordingly, it is


         ORDERED that the Report and Recommendation is adopted and incorporated
 by reference. The Motion for Protective Order (Dkt. 893) is granted as provided in this
 Order. The Motion for Instruction (Dkt. 892) is denied.



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         DONE and ORDERED in Chambers in Tampa, Florida on this / y S dav of June,
 2016.
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